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  6
  7                                  UNITED STATES DISTRICT COURT
  8                                CENTRAL DISTRICT OF CALIFORNIA
  9
 10    D.R., a minor, by and through his                            )   CASE NO.: 2:20-cv-6307
 11    guardian ad litem R.R.,                                      )
                                                                    )   COMPLAINT FOR:
 12                  Plaintiff,                                     )
                                                                    )   1. Appeal of Special Education
 13    vs.                                                          )   Administrative Hearing Decision
                                                                    )   Arising Under the Individuals with
 14    REDONDO BEACH UNIFIED                                        )   Disabilities Education Act (IDEA), 20
       SCHOOL DISTRICT, a local                                     )   U.S.C. § 1400 et seq.
 15    educational agency,                                          )
                                                                    )
 16                  Defendant.                                     )
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        Appeal of Special Education Administrative Hearing Decision Arising Under the Individuals with Disabilities Education Act
                                                    (IDEA), 20 U.S.C. § 1400 et seq.
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  1                                                 INTRODUCTION
  2            1.       Plaintiff D.R. brings this action following an administrative hearing
  3   decision (“Decision”) rendered by the California Office of Administrative Hearings
  4   (“OAH”) in a special education administrative hearing under the Individuals with
  5   Disabilities Education Improvement Act (“IDEA”) 20 U.S.C. §§ 1415 et seq., and
  6   designated as OAH case no. 2019080965. The Decision was issued on April 17,
  7   2020.
  8            2.       Plaintiff brings this action to reverse the Decision in OAH case no.
  9   2019080965 with respect both issues decided therein. Additionally, Plaintiff seeks
 10   to compel Defendant to provide Plaintiff with an appropriate educational program in
 11   the least restrictive environment appropriate to meet his needs in accord with 20
 12   U.S.C. section 1412(a)(5) and to reimburse Plaintiff’s parents for the costs of
 13   privately obtained educational services which they were forced to obtain in light of
 14   the deficiencies in District’s educational program. Plaintiff also seeks to recover
 15   attorneys’ fees and expenses incurred in connection with the underlying
 16   administrative proceeding and this action pursuant to 20 U.S.C. § 1415(i)(2)(B).
 17                                       JURISDICTION AND VENUE
 18            3.       This Court has original subject matter jurisdiction pursuant to 28 U.S.C.
 19   sections 1331 and 1343, which afford original jurisdiction over actions arising from
 20   federal questions under the Constitution or laws of the United States, including the
 21   Individuals with Disabilities Education Act (IDEA) (20 U.S.C. § 1415(e)).
 22            4.       Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because
 23   all the events which are the subject of this complaint took place within the Central
 24   District of California, in which the District is situated and Plaintiff resides.
 25            5.       D.R. has exhausted all administrative remedies.
 26                                                        PARTIES
 27            6.       Plaintiff D.R. is a minor and a resident of the city of Redondo Beach,
 28   California. At all times relevant to this action, he has resided with his parents within
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                                                    (IDEA), 20 U.S.C. § 1400 et seq.
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  1   the boundaries of the Redondo Beach Unified School District. D.R. qualifies as an
  2   individual with a disability for purposes of the IDEA. He qualifies for special
  3   education services under the IDEA on the basis of Autism. Plaintiff is under the age
  4   of 18 and brings this action through his guardian ad litem, R.R.
  5            7.       Defendant Redondo Beach Unified School District (“District,” or
  6   “RBUSD”) is a public local educational agency and a public entity under the laws of
  7   the State of California, and is located in Los Angeles County, California. The District
  8   is a local educational agency organized pursuant to the applicable provisions of the
  9   California Education Code and charged by federal and state law with providing
 10   students with disabilities who live within its boundaries with a free and appropriate
 11   educational program.
 12                                          PROCEDURAL HISTORY
 13            8.       Plaintiff filed a due process hearing request with the California Office
 14   of Administrative Hearings on August 26, 2019, naming Redondo Beach Unified
 15   School District as Respondent. Plaintiff’s case was numbered OAH case no.
 16   2019080965.
 17            9.       A hearing was held before Administrative Law Judge Ted Mann on
 18   January 28, 29, 30, 2020, and February 18, 2020. A Decision, appealed here, was
 19   rendered by ALJ Mann on April 17, 2020. A true and correct copy of the Decision
 20   is attached to this complaint as Exhibit “A” and incorporated herein by reference.
 21                                         FIRST CAUSE OF ACTION
 22      (Appeal of Special Education Administrative Decision Arising Under the
 23    Individuals with Disabilities Education Act (IDEA), 20 U.S.C. § 1400 et seq.,
 24                                                   Against District)
 25            10.      Plaintiff incorporates by reference herein and repeats as though set out
 26   in full paragraphs 1 through 9.
 27            11.      The Decision below was not based upon a careful and impartial
 28   consideration of all the evidence. The Administrative Law Judge failed to consider
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        Appeal of Special Education Administrative Hearing Decision Arising Under the Individuals with Disabilities Education Act
                                                    (IDEA), 20 U.S.C. § 1400 et seq.
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  1   all of the evidence presented, reached erroneous conclusions of law, and otherwise
  2   failed to issue a decision that is careful and impartial. With respect to evidence, the
  3   ALJ failed to address undisputed expert testimony and research findings that the
  4   segregated program proposed by the District would provide less academic benefit to
  5   D.R. that the program he had been receiving.
  6            12.      The ALJ’s application of relevant precedent to the facts he did consider
  7   was equally idiosyncratic. The main issue decided in the case below was whether
  8   District denied student an appropriate educational program by failing to offer him a
  9   program in the least restrictive environment appropriate to meet his needs as required
 10   by the IDEA. The ALJ’s application of the four part balancing test articulated in
 11   Sacramento City Unified Sch. Dist. V. Rachel H., 14 F.3d 1398 (9th Cir. 1994) was
 12   completely contrary to law. Specifically, although the ALJ explicitly found that D.R.
 13   had made “undisputed progress . . . on his academic goals” during the period at issue,
 14   he denied student continued placement within a general education environment for
 15   the majority of his day on the basis that he had not established that his academic
 16   progress was attributable to his time within a general education class as opposed to
 17   the limited period during which he was provided with academic instruction outside
 18   the general education class. Such a reading of the law directly contradicts the
 19   requirement that school districts are required to provide each special education
 20   student with a program in the least restrictive environment and remove students “from
 21   the regular education environment . . . only if the nature or severity of the disability
 22   is such that education in regular classes with the use of supplementary aids and
 23   services cannot be achieved satisfactorily.” (20 U.S.C. §1412(a)(5)(A); Ed. Code, §
 24   56031.) The fact that a student’s academic progress may be attributable, in whole or
 25   in part, to the “supplementary aids and services” that are a part of his overall program
 26   in no way entails that he should be removed to a more segregated program.
 27            13.      As the Decision below is contrary to clearly established law, Plaintiff
 28   seeks this Court’s de novo review and reversal of the Decision with respect to both
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        Appeal of Special Education Administrative Hearing Decision Arising Under the Individuals with Disabilities Education Act
                                                    (IDEA), 20 U.S.C. § 1400 et seq.
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  1   issues decided, and the issuance of appropriate relief.
  2                                             PRAYER FOR RELIEF
  3            Plaintiff prays this Court provide the following relief:
  4            1.       An Order reversing the OAH Decision in this matter;
  5            2.       An order compelling District to provide Plaintiff with an appropriate
  6                     educational program in the least restrictive environment appropriate
  7                     to meet his needs in accord with 20 U.S.C. section 1412(a)(5);
  8            3.       An order compelling District to reimburse Student’s parents for the
  9                     costs of privately obtained educational services;
 10            4.       An order compelling District to provide Student with compensatory
 11                     educational services;
 12            5.       An Order awarding attorneys’ fees and costs incurred in litigating
 13                     both the administrative due process complaint and the instant action
 14                     pursuant to 20 U.S.C. § 1415(i)(2)(B); and,
 15            6.       An Order awarding such other and further relief as the Court deems
 16                     just and proper.
 17
 18   Dated: July 12, 2020                                    Respectfully submitted,
                                                              Newman Aaronson Vamanan LLP
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                                                                                       /s/
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                                                              David W. German, Attorney for D.R.
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        Appeal of Special Education Administrative Hearing Decision Arising Under the Individuals with Disabilities Education Act
                                                    (IDEA), 20 U.S.C. § 1400 et seq.
